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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

MICHAEL BENNETT, COLLEEN                         Case No. 05-CV-0038 (PJS/RLE)
BENNETT, RAYMOND A. BROGGER,
PHYLLIS BROGGER, MICHAEL G.
NEWAGO, SHERRI L. NEWAGO,
DONALD FINN, LOIS NORTHBIRD,
SHARON BURNETTE, GARY L.
CHASTEK, LOUIS E. FOURNIER,
GLORIA J. FOURNIER, WAYNE D.
FRAZER, ELAINE BOHN GANGELHOFF,
GARY G. GEHRKE, DELORES HOUGH,
KARL HUMPHREY, LORI HUMPHREY,
IVA LADUKE, DUANE A. MULLER,                     ORDER DENYING MOTION
WANDA MULLER, MARIA REA, JANE                    FOR SUMMARY JUDGMENT
REA, TODD M. STAPLES, BLANCA
DURAN, JOHN R. UTLEY, RUTH A.M.
WITTNER, and MICHELLE WORCESTER,

                   Plaintiffs,

v.

INTERNATIONAL PAPER COMPANY and
BURLINGTON NORTHERN AND
SANTA FE RAILWAY COMPANY,

                   Defendants.

     James P. Carey and Shannon C. Keil, SIEBEN, GROSE, VON HOLTUM & CAREY,
     LTD; Sharon L. Van Dyck, VAN DYCK LAW FIRM; Gary M. Hazelton, HAZELTON
     LAW FIRM PLLC; and William J. Delmore, KELSCH KELSCH RUFF & KRANDA,
     for plaintiffs.

     Joseph W. Anthony and Cheryl A. Stanton, ANTHONY OSTLUND BAER LOUWAGIE
     & ROSS P.A., for defendant International Paper Company.

     Timothy R. Thornton, Timothy G. Gelinske, and Matthew R. Brodin, BRIGGS &
     MORGAN, P.A., for defendant Burlington Northern and Santa Fe Railway Company.
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       For nearly thirty years, defendant International Paper Company (“IP”) operated a wood-

treatment plant in Cass Lake, Minnesota, on land leased from defendant Burlington Northern and

Santa Fe Railway Company (“BNSF”).1 IP dismantled its plant in 1985.

       Plaintiffs own homes on or near the land on which IP’s plant operated. Plaintiffs allege

that their property was contaminated by hazardous waste released by IP during its operation of

the plant. Plaintiffs now seek to recover damages from IP (and BNSF) under the Minnesota

Environmental Response and Liability Act (“MERLA”), Minn. Stat. §§ 115B.01 et seq., and the

common law. Defendants move for summary judgment, arguing that all of plaintiffs’ claims are

barred by the statute of limitations. For the reasons set forth below, the Court denies defendants’

motion.

                                       I. BACKGROUND

       Cass Lake is a town in northern Minnesota located within the boundaries of the Leech

Lake Indian Reservation. Hegland Dep. 43-44. BNSF tracks run east to west through Cass Lake,

bisecting the town into a larger northern section and a smaller southern section. Larson Aff.

Ex. 1, Dec. 5, 2008 [hereinafter “Larson Aff.”]; Brodin Aff. Ex. 3, Dec. 5, 2008 [hereinafter

“Brodin Aff.”]. IP began leasing land from BNSF in 1949 for the purpose of building and

operating a wood-treatment plant in Cass Lake. Larson Aff. Ex. 5. The site of IP’s plant (the

“Site”) consists of about a half-mile-long strip of land running along the south side of the BNSF




       1
         Both BNSF and IP are successors to other companies. IP’s predecessors include the
Wheeler Lumber Bridge & Supply Company, the St. Regis Paper Company, and Champion
International Corporation. For simplicity’s sake the Court refers to IP and all of its predecessors
collectively as “IP” except when quoting portions of the record. Similarly, the Court refers to
BNSF and its predecessors collectively as “BNSF.”

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tracks. Brodin Aff. Ex. 2. Most plaintiffs own homes that are located south of the Site. Brodin

Aff. Ex. 2. The city dump is located south of these homes.

       IP operated a wood-treatment plant on the Site from the late 1950s until 1985.

Westerdahl Dep. 17, 35. Before treating the wood, workers at the plant would peel off the bark

and cut the wood to shape. Eidsmoe Dep. 76; K. Humphrey Dep. 135. The untreated bark and

wood scraps were burned in a “teepee burner.” Eidsmoe Dep. 80; K. Humphrey Dep. 165. The

remaining wood was placed into cylinders where it was pressure-treated, typically with an oil-

based chemical solution containing creosote or pentachlorophenol. R. Brogger Dep. 112; K.

Humphrey Dep. 138; Lausche Dep. 198-99; Ross Dep. 74-75. Ammoniacal copper arsenate, a

water-based wood preservative, was also used at the Site. Westerdahl Dep. 226-30; Brodin Aff.

Ex. 9 at 2 ¶ 3. Treated wood was removed from the cylinders and stacked on the ground around

the Site, where excess oil would drip onto the ground. L. Fournier Dep. 23; Rea Dep. 137-38.

The treated wood would eventually be shipped out.

       Periodically, workers at IP’s plant would clean out the mixture of debris and chemical

residue — commonly called “sludge” — that would form on the bottom of the cylinders.

Chastek Dep. 27-28; Lausche Dep. 200; Westerdahl Dep. 34. Initially, sludge from the cylinders

was sent to the city dump to be burned. Westerdahl Dep. 70. Some sludge was also dumped on

the Site itself. Chastek Dep. 31, 94; L. Fournier Dep. 41-42; Brodin Aff. Ex. 9 at 3 ¶ 5. In the

mid-1970s, IP began shipping sludge to a hazardous-waste facility. Westerdahl Dep. 70-71.

       Aside from the sludge, the treatment process also generated chemically contaminated

wastewater. Initially, after filtration, the wastewater was discharged into a holding pond and then

taken to the city dump. Ross Dep. 79-80; Swearingen Dep. 106-07. Later, in the 1970s, treated

wastewater was transferred to an oxidation pond that IP built on the Site. Westerdahl Dep. 73-

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74, 87. Witnesses also recall seeing IP spray wastewater on Site roads to keep down the dust.

L. Fournier Dep. 23-26; Lausche Dep. 118-19, 201. By the 1980s, IP had changed its treatment

process to minimize the production of wastewater. Ross Dep. 80-81; Westerdahl Dep. 75-76;

Brodin Aff. Exs. 10-11. After 1980, wastewater that could not be reused or evaporated was

treated in Cass Lake’s sewage-treatment facility. Brodin Aff. Ex. 9 at 3 ¶ 4.

       Cass Lake residents commonly walked through the Site to go from one side of town to

the other, and children often played among the piles of treated wood on the Site. Bruce Dep. 33-

34; Chastek Dep. 13, 15; Finn Dep. 21, 171-72; L. Fournier Dep. 29-30; Frazer Dep. 28-30;

Hough Dep. 36; K. Humphrey Dep. 161; Rea Dep. 76-77; Utley Dep. 32-33; Wittner Dep. 62-63,

68. Long-time residents remember seeing oil spills and oily puddles on the Site and getting a

black substance on their clothes when they climbed on the treated logs. Bruce Dep. 54-55;

Chastek Dep. 13; Finn Dep. 21; L. Fournier Dep. 31; K. Humphrey Dep. 161-62; Rea Dep. 76-

77; Utley Dep. 32-34. Many residents recall that the plant generated a foul smell at least some of

the time. M. Bennett Dep. 25; Chastek Dep. 31; Erickson Dep. 14; Hough Dep. 33; Utley

Dep. 31; see also Brodin Aff. Ex. 12 (1986 letter complaining of “the stench from the plant”);

Brodin Aff. Ex. 29 (1981 letter complaining of “air which is completely fouled with the

chemicals used in the wood treating process”). Others residents do not remember a bad smell

coming from the plant. Eidsmoe Dep. 75-76; Gangelhoff Dep. 53.

       In 1980, Congress passed the Comprehensive Environmental Response, Compensation,

and Liability Act (“CERCLA”), 42 U.S.C. §§ 9601 et seq., popularly known as the Superfund

Act. Pursuant to CERCLA, the Environmental Protection Agency (“EPA”) placed the Site, along




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with the city dump, on the National Priorities List (“NPL”) in September 1984.2 Brodin Aff.

Ex. 9 at 3 ¶ 7. After the Minnesota Pollution Control Agency (“MPCA”) took primary

responsibility for the Site, there followed a period of intense remedial activity. Brodin Aff. Ex. 9

at 3 ¶ 8. The MPCA and IP signed two consent orders providing for a remedial investigation of

the Site, the development and implementation of a response plan, and followup monitoring.

Brodin Aff. Ex. 9 at 3 ¶ 8. These orders covered both the Site and the city dump. Brodin Aff.

Ex. 9 at 3 ¶ 8. In 1986, the MPCA issued two Enforcement Decision Documents (“EDDs”), one

for the Site and one for the dump.3 Brodin Aff. Exs. 14, 23. The EDDs called for installing a

groundwater treatment system on the Site, excavating contaminated soil from the Site,

constructing a containment vault for the contaminated soil, connecting nearby residents to city

water, and conducting long-term monitoring. Brodin Aff. Ex. 14.

       IP shut down and dismantled the Cass Lake plant in 1985. Westerdahl Dep. 17. Over the

next couple of years, IP conducted a massive cleanup operation, which involved connecting

nearby residents to the municipal water system, constructing a groundwater treatment system,

building a hazardous-waste containment vault, and moving 42,000 cubic yards of sludge and

contaminated soil from the Site into the vault. Brodin Aff. Ex. 17 at 6; Brodin Aff. Ex. 18 at 6;

Brodin Aff. Ex. 34; Keil Aff. Ex. 11 at 2, Dec. 31, 2008 [hereinafter “Keil Aff.”]. Since that

time, IP has operated the treatment system and the vault with oversight from the MPCA and,


       2
       The NPL, which is commonly called the Superfund list, is a list of cleanup priorities
among hazardous waste sites around the country. Carus Chem. Co. v. U.S. Envtl. Prot. Agency,
395 F.3d 434, 437 (D.C. Cir. 2005).
       3
        The EPA defines an “enforcement decision document” as “[a] document that provides an
explanation to the public of EPA’s selection of the cleanup alternative at enforcement sites on the
National Priorities List.” EPA, Terms of Environment: Glossary, Abbreviations and Acronyms
(Aug. 2007), available at http://www.epa.gov/OCEPAterms/ (last visited May 27, 2009).

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later, the EPA. Both agencies have issued periodic reports on the status of the Site. Brodin Aff.

Ex. 18 at 2, 6-7; Brodin Aff Ex. 17; Keil Aff. Ex. 11 at 2. To date, IP has spent over $20 million

on remediation of the Site. Brodin Aff. Ex. 24 ¶ 5. The Site’s placement on the NPL and the

subsequent cleanup were extensively publicized throughout Cass Lake and nearby communities.

       In July 2001, the EPA announced that it would conduct soil and groundwater sampling of

residential yards and wells near the Site. Keil Aff. Ex. 11 at 3. The EPA announced the results

of that sampling in 2003. Keil Aff. Ex. 12. In letters mailed to Cass Lake residents, the EPA

warned that “[y]ou, your family, and friends need to avoid a lot of contact with the dust and dirt

in your neighborhood.” Keil Aff. Ex. 12. Since that time, IP has conducted indoor residential

dust sampling and cleanup and placed soil and seed cover on residential yards. Keil Aff. Ex. 15

at 8; see also Docket No. 123 at 4-5. The EPA has now identified the residences south of the

Site as a unit of the Superfund area. Keil Aff. Ex. 15 at 7-8; Keil Aff. Ex. 16.

                                          II. ANALYSIS

                                      A. Standard of Review

       Summary judgment is appropriate “if the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact and

that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). A dispute over

a fact is “material” only if its resolution might affect the outcome of the suit under the governing

substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute over a

fact is “genuine” only if the evidence is such that a reasonable jury could return a verdict for

either party. Ohio Cas. Ins. Co. v. Union Pac. R.R., 469 F.3d 1158, 1162 (8th Cir. 2006). In

considering a motion for summary judgment, a court “must view the evidence and the inferences



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that may be reasonably drawn from the evidence in the light most favorable to the non-moving

party.” Winthrop Res. Corp. v. Eaton Hydraulics, Inc., 361 F.3d 465, 468 (8th Cir. 2004).

                                             B. Timeliness

        Eight of the plaintiffs — Michael Bennett, Colleen Bennett, Raymond Brogger, Phyllis

Brogger, Michael Newago, Sherri Newago, Donald Finn, and Lois Northbird — filed the original

complaint in this matter on January 6, 2005.4 See Docket No. 1. The remaining plaintiffs joined

this action with the filing of the first amended complaint on June 18, 2007. See Docket No. 231.

All parties agree that plaintiffs’ claims against IP and BNSF are subject to six-year statutes of

limitation.5 Thus plaintiffs’ claims are untimely if they accrued before January 6, 1999 (for the

original plaintiffs) or June 18, 2001 (for the additional plaintiffs). The question, then, is when

did plaintiffs’ claims accrue?

        The parties have extensively briefed this issue and, at the Court’s request, engaged in two

rounds of oral argument, which has helped to narrow the dispute considerably. The parties now

agree that, pursuant to 42 U.S.C. § 9658 of CERCLA, the “discovery rule” determines the date

on which plaintiffs’ causes of action accrued. The parties agree that plaintiffs’ claims accrued,

and the six-year statute of limitations began to run, when plaintiffs knew, or reasonably should

have discovered, that they had suffered a legally compensable injury as a result of their land

being contaminated by the release of hazardous substances at the Site. 42 U.S.C. § 9658(a)(1),


        4
        A ninth plaintiff, Cynthia Gurnsey, has since stipulated to the dismissal of her claims
without prejudice. See Docket Nos. 245, 247.
        5
         Plaintiffs assert that all of their claims are subject to the six-year limitations period in
Minn. Stat. § 115B.11. Defendants assert that, while some of plaintiffs’ claims are subject to
§ 115B.11, others are subject to the six-year limitations period in Minn. Stat. § 541.05,
subd. 1(5). Because all parties agree that all claims are subject to a limitations period of six
years, the Court need not decide which six-year statute of limitations applies to each claim.

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(b)(4)(A) (limitations period for state-law actions for property damage caused by the release of a

hazardous substance begins running when the plaintiff knew or should have known that the

property damage was caused by the hazardous substance); Union Pac. R.R. v. Reilly Indus., Inc.,

215 F.3d 830, 840-41 (8th Cir. 2000) (under § 9658 and Minnesota law, the limitations period

for property damage claims begins running when the plaintiff knew or reasonably should have

known that its land was contaminated); cf. MacRae v. Group Health Plan, Inc., 753 N.W.2d 711,

719-20 (Minn. 2008) (plaintiff’s claim could not accrue under the “damage rule” before he

suffered some legally compensable damage).6

       At the first hearing on defendants’ motion for summary judgment, plaintiffs asserted that

they could recover for “pure” stigma damages. In other words, plaintiffs claimed that they could

recover for damages caused by the stigma of being near a Superfund site, even if they could not

prove that their land had been contaminated. Hr’g Tr. 34-35, Mar. 4, 2009. Presumably the

measure of “pure” stigma damages would be the difference between the present fair market value

of a home and what the fair market value of the home would be if the home were not located near

a Superfund site.




       6
         In MacRae, the Minnesota Supreme Court applied the “damage rule,” under which a
plaintiff’s cause of action accrues when the plaintiff suffers damage. MacRae, 753 N.W. 2d at
719. It is not enough, the court explained, for the plaintiff to suffer damage in the abstract; the
damage suffered must be legally compensable in order for the plaintiff to have a cause of action.
Id. at 720. As discussed above, the “discovery rule” applies in this case, thus postponing accrual
until plaintiffs both suffered damage and had actual or constructive knowledge of the damage.
Although MacRae did not apply the “discovery rule,” the logic of MacRae — that a cause of
action cannot accrue until the plaintiff has suffered not just any damage, but legally compensable
damage — is equally applicable here. A plaintiff obviously cannot be expected to discover the
existence of damage that she has not yet suffered, and unless such damage is legally
compensable, she has no cause of action.

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       As the Court pointed out, though, plaintiffs had actual or imputed knowledge of “pure”

stigma damages over twenty years ago. If plaintiffs indeed suffered a legally compensable injury

by virtue of owning a home near a Superfund site, then plaintiffs knew or should have known of

this injury in 1984, when the EPA placed the Site on the NPL. Obviously, at that point, plaintiffs

would have known that they owned land near a Superfund site, and plaintiffs would have known

that being near a Superfund site might harm their property values. That being the case, the Court

asked the parties whether all of plaintiffs’ claims would be barred under the rule that a plaintiff’s

entire cause of action accrues when the plaintiff knows or should know of some compensable

injury, even if the full extent of the damages is not yet known. See Highland Indus. Park, Inc. v.

BEI Def. Sys., 357 F.3d 794, 797 (8th Cir. 2004) (“we know of no state whatever in which an

injured party must know the full extent of the damages that it may recover before the statute of

limitations begins to run on its claim”); Pamida, Inc. v. Christenson Bldg. Corp., 285 F.3d 701,

704-05 (8th Cir. 2002) (two-year limitations period of Minn. Stat. § 541.051 began running upon

discovery of the initial property damage in 1996, even though greater damage occurred later).

       At plaintiffs’ request, the Court permitted the parties to submit supplemental briefing

regarding this inquiry. In their supplemental brief, plaintiffs did an about-face. Plaintiffs argued

that, contrary to their earlier assertions, homeowners cannot recover for “pure” stigma damages.

Instead, a homeowner cannot recover damages unless his land was contaminated. If his land was

contaminated, a homeowner can seek compensation for any injuries flowing from that

contamination, including damages caused by the stigma associated with the contamination.

See Docket No. 439 at 3-5.

       Plaintiffs’ change of position resulted in a rather strange second hearing on defendants’

summary-judgment motion. At the hearing, plaintiffs argued that Minnesota law does not permit

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them to recover “pure” stigma damages, while defendants argued — at least initially — that the

issue was unsettled and that they might indeed be held liable for “pure” stigma damages.

Eventually, though, defendants conceded (as appears to be the law) that none of plaintiffs’ claims

accrued until plaintiffs knew or had reason to know that their land was contaminated. After

much briefing and argument, then, the sole question before the Court is whether a reasonable jury

could find that plaintiffs lacked actual or imputed knowledge that their property was

contaminated until on or after January 6, 1999 (for the original plaintiffs) or June 18, 2001 (for

the additional plaintiffs).

        There is overwhelming evidence that, long before 1999, plaintiffs knew or should have

known that the Site itself had been contaminated by the operation of IP’s wood-treatment plant.

The record is replete with evidence that city residents could and did see for themselves that IP

had for decades discharged creosote and other contaminants onto the Site. The record is also

replete with evidence of the massive clean-up operation that IP undertook in the mid-1980s.

        Defendants argue that plaintiffs also knew or should have known by the mid-1980s that

land near the Site — including plaintiffs’ properties — had been contaminated. Defendants

point to evidence that, by the 1980s, some residents had expressed the belief that IP’s activities

were polluting other parts of the city. Brodin Aff. Ex. 12 (1986 letter threatening legal action

because the residents’ “lifelong home has been rendered worthless by the plant and water

contamination”); Brodin Aff. Ex. 29 (1981 letter stating that “we are contemplating a law suit

against the Wheeler Lumber Company in order to prevent them from polluting not only the

ground and the water but the air as well”). Defendants also point out that, after the EPA and the

MPCA arrived on the scene, the contamination at the Site was thoroughly publicized through

community meetings and press reports. Cleanup activities — including the excavation of tens of

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thousands of cubic yards of soil and the removal of that soil to a containment vault — took place

openly over a period of several years. Out of concern for potential contamination, wells were

capped, and residents were hooked up to city water. With the entire area under the spotlight,

defendants argue, any reasonable landowner would have investigated the possibility that his land

was contaminated.

       Defendants have a decent argument, and the Court was tempted to grant their motion for

summary judgment. Ultimately, though, what persuaded the Court to leave the statute-of-

limitations issue for the jury is this: Although the EPA, the MPCA, and IP devoted a great deal

of attention to detecting and remedying the contamination of the Site beginning in 1984, there is

little evidence that either the government or IP was concerned about possible contamination of

properties near the Site until July 2001, when the EPA announced that it would be conducting

residential soil sampling. To the contrary, in the mid-1980s, when the Site was being cleaned up,

plaintiffs had reason to believe that the pollution was confined to the Site and that off-Site

remedial measures were purely precautionary.

       For example, plaintiffs cite a November 14, 1985 “fact sheet” distributed by the MPCA,

presumably to the residents of Cass Lake (including plaintiffs). Under the heading “Are the

residents affected?,” the document states as follows:

               Residents in the area are not exposed to the contaminated
               material. There is no evidence that the PCDDs [polychlorinated
               dibenzodioxins] have affected drinking water in the area.
               Sampling of Cass Lake city wells has not detected any compounds
               associated with PCDDs.

               Under the clean-up contract with the MPCA, Champion will take
               the necessary measures to clean up the contamination so that the
               pentachlorophenol and PCDD-contamination will not present a
               future threat to the environment.


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Keil Aff. Ex. A at 2, Mar. 18, 2009 (emphasis added). Similarly, an October 1986 article in a

Bemidji newspaper reported that “[f]ollowing a series of intensive tests, no contamination was

found in the groundwater or in fish samples in nearby Pike Bay.” See Brodin Aff. Ex. 34. In the

same article, a spokesman for IP portrayed the extension of city water to area residents as

essentially a precautionary measure that was not based on evidence of actual contamination. Id.

        Morever, a number of plaintiffs testified that the cleanup was regarded as a success, and

plaintiff Duane Muller, who worked on the cleanup at the Site, recalled that inspectors in charge

of the cleanup told him that they had gotten all of the contaminated material. D. Muller Dep. 57-

58; C. Bennett Dep. 98; R. Brogger Dep. 20, 79-80; L. Fournier Dep. 21, 68-69, 189-90; see also

Brodin Aff. Ex. 34 (1986 newspaper article quoting IP spokesman characterizing “the overall

effort [as] a real classic success story”). Two plaintiffs, upon purchasing former Site land from

the city, asked about the possibility of contamination and were specifically assured by city

employees that the land was not contaminated. Finn Dep. 33-34 (city manager told him that “It’s

all done. It’s cleaned up. They removed the dirt.”); W. Muller Dep. 66-68 (city clerk told her

that the land was cleaned up); D. Muller Dep. 9, 32-34 (describing his wife’s conversation with

the city clerk).

        In light of this evidence, the Court cannot hold, as a matter of law, that plaintiffs knew or

should have known before July 2001 that their land may have been contaminated. Again, the

question is what a reasonable homeowner living in the small community of Cass Lake would

have concluded about the contamination of his property. In the 1980s, such a homeowner would

have seen the EPA and the MPCA — two agencies that were charged with safeguarding the

public health and that had far more resources and expertise than any Cass Lake resident —

swarming over the Site but showing almost no concern about land near the Site. After

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witnessing the government and IP devoting significant resources to the Site itself but few

resources to nearby properties — and after being told by the government that the groundwater

was clean, that the pollution at the Site had been cleaned up, and that “[r]esidents in the area are

not exposed to the contaminated material” — a homeowner might well have concluded that his

property was not contaminated. And a jury might well find that the homeowner acted reasonably

in reaching that conclusion.

       Defendants point to later events that, they contend, should have alerted plaintiffs to the

possibility that their land was contaminated even if plaintiffs had reason to think that the initial

cleanup was successful. In particular, defendants cite (1) a 1993 news release from the

Minnesota Department of Health, which stated that “[b]oth groundwater and soil on and in the

vicinity of the site have been contaminated with polycyclic aromatic hydrocarbons (PAHs) and

pentachlorophenol (PCP) due to past wood treating and waste disposal activities,” Brodin Aff.

Ex. 35 (emphasis added), and (2) publicity surrounding a proposed housing development on the

Site, which was abandoned in 1994 due to concerns about contamination, Brodin Aff. Exs. 37,

38, 39. Although both the 1993 news release and the publicity surrounding the development are

certainly evidence in defendants’ favor, they do not justify the entry of summary judgment.

       The 1993 news release does indeed mention contamination “on and in the vicinity of the

site.” It is not clear, however, to whom this news release was distributed. And even if it had

been placed in the hands of every plaintiff, the statement cited by defendants would not

necessarily put a reasonable homeowner on notice that his land had been contaminated.

Homeowners do not read news releases with the care that, say, an attorney brings to reading a

statute. The language relied on by defendants was a fragment of a sentence that appeared in a

short background summary contained in the 1993 release — a summary that did not purport to be

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based on any new information. The focus of the release was on potential health risks from the

Site. Although the release made recommendations about restricting access to and cleaning up the

Site, the release said nothing about health risks associated with land near the Site. The release

fell short of giving plaintiffs clear notice that their properties might be contaminated, especially

when considered in the context of the evidence described above.

       The same can be said for the publicity surrounding the proposed housing development.

The proposed development was slated for land that was formerly part of the Site itself,7 and thus

the fact that the possibility of contamination ultimately derailed the development did not provide

notice that land near the Site might be contaminated. True, the publicity alerted residents to the

possibility that the Site remained contaminated. But given the circumstances described above —

including the fact that groundwater tests had found no contamination in city water and the fact

that the MPCA had assured residents that they would not be affected by the contamination —

evidence that the Site remained contaminated was not tantamount to evidence that land near the

Site was contaminated.

       Finally, defendants argue that, whatever else might be said, there are six plaintiffs who

indisputably were on notice before 1999 that their properties were contaminated because these

plaintiffs’ properties were formerly part of the Site. In 1988, IP quitclaimed a portion of the Site

to Cass Lake. Brodin Aff. Ex. 18 at 6. Between them, plaintiffs Donald Finn and Lois


       7
         Although their brief is equivocal on this issue, plaintiffs asserted at oral argument that
the proposed housing development was to be built on land that was formerly part of the Site. A
1994 article about the development stated that “Champion used to own the land Cepco wanted to
develop. The land had once been part of Champion’s hazardous waste site until Champion sold
the property to the city, with MPCA approval.” Brodin Aff. Ex. 37. In this context, of course,
what is critical is not what was true, but what was reported as true. As best as the Court can tell,
a Cass Lake resident who read about the failed development would have been led to believe that
it was planned for the Site itself, as opposed to property near the Site.

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Northbird, Dwayne and Wanda Muller, Iva LaDuke, and Blanca Duran purchased four parcels of

this former Site land from the city. LaDuke Aff. ¶¶ 2-3; Finn Aff. ¶¶ 2-4; D. Muller Aff. ¶¶ 2-4;

Duran Dep. 46-48. The quitclaim deed from IP, included in each parcel’s chain of title, includes

the following statement: “Grantor hereby represents and warrants that hazardous substances

were located in or on the demised premises.” Brodin Aff. Exs. 19-22. The quitclaim deed also

creates a covenant prohibiting the installation of groundwater wells. Brodin Aff. Exs. 19-22. In

addition, the chain of title for three of the four parcels includes an affidavit authored by James

Carraway, IP’s director of Environmental Projects. That affidavit warns that the groundwater

underlying the parcels is contaminated with pentachlorophenol and other chemicals. Brodin Aff.

Exs. 20-22.

       As the Court stated earlier, there is overwhelming evidence that plaintiffs knew or should

have known that IP had polluted the Site. The information in these six plaintiffs’ chain of title is

part of that evidence. But, as also stated earlier, there is evidence that the cleanup of the Site was

regarded as a success by city residents, IP, and governmental agencies, and that both Donald Finn

and the Mullers were specifically assured by city employees that their property was not

contaminated. These plaintiffs do not dispute that they had actual or constructive knowledge of

the fact that their groundwater was contaminated and that they could not sink wells. But they

argue that, given the assurances by the city and the fact that the only restriction on their property

involved the groundwater, they were justified in concluding that the land was otherwise safe for

residential and commercial use.

       In sum, the Court concludes that, although defendants have a respectable statute-of-

limitations defense, the defense is not so strong that a reasonable jury must accept it.

Defendants’ motion for summary judgment is therefore denied.

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                                             ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED that defendants’ motion for summary judgment on the basis of the statute

of limitations [Docket No. 402] is DENIED.

 Dated: May 27, 2009                              s/Patrick J. Schiltz
                                                  Patrick J. Schiltz
                                                  United States District Judge




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